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lN THE UNITED STATES DlSTRlCT COURT 95 -.t§_t?t 30 P:‘~‘€ 3= 315
FoR THE WESTERN DISTRICT or TENNESSEE

   

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UNITED STATES OF AMERICA
vs CR NO. 1:05_10033-01-T
MICHAEL RAMERJZ
oRDER ON CHANGE oF PLEA

This cause came on to be heard on June 24, 2005, Assistant U. S. Attorney,
Jerry Kitchen, appearing for the government, and the defendant appeared in person
and With counsel, S. Drake Martin, who was retained.

With leave of the Court, the defendant Withdrew the Not Gui]ty Plea heretofore entered
and entered a plea of GUILTY as charged in Counts 1 of the Indictment.

This case has been set for sentencing on Friday , September 23, 2005, at 9:00

The defendant is remanded to the custody of the United States Marshal.

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DATE: 35 yQ¢/t/)-¢,B€U~F"

lT lS SO ORDERED.

Thfs document entered on the docket sheet in compliance
with F\ule 55 and/or 32(b) FHCrP on

 

DISTRIC COURT - WESERNT D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:05-CR-10033 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

